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                                                  November 20, 2023

VIA CM/ECF

Judge Arun Subramanian
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Azam Ahmed v. Cigna Health Management, Inc., et al., Case No. 1:23-cv-08094-AS

Dear Judge Subramanian:

         I represent Cigna Health Management, Inc. (“Cigna”) as the Lead Trial Counsel in this matter.
Cigna submits this joint letter motion on behalf of itself, Wellfleet Insurance and Wellfleet New York
Insurance Company (together, “Wellfleet,” and collectively with Cigna, “Defendants”) and Plaintiff Azam
Ahmed. In accordance with the Court’s Individual Practices, Section 3.E, the parties jointly request: (1) an
extension of Defendants’ time to answer, move, or otherwise respond to the complaint, and (2) an
adjournment of the initial pretrial conference with the Court, currently scheduled for December 20, 2023,
as well as the related December 14 deadline for the parties’ joint letter and related discussions concerning
initial case management issues. This is Defendants’ second request for an extension of time.

        Plaintiff Azam Ahmed filed his complaint on September 13, 2023. Cigna and Wellfleet were
served with the complaint on September 27 and September 28, respectively. On October 6, Cigna filed a
letter motion, with Plaintiff’s consent, requesting an extension of Cigna’s time to respond to the complaint
to November 27. The Court granted that request on October 10. On October 17, Wellfleet also filed a
letter motion, with Plaintiff’s consent, likewise requesting until November 27 to respond to the complaint.
On October 18, the Court granted Wellfleet’s request.

        Since that time, the parties have had several meet-and-confers to discuss certain of Plaintiff’s
allegations, in an effort to see whether the parties may be able to narrow some of the disputed issues
through Plaintiff filing an amended complaint. Specifically, Plaintiff indicated that he may be willing to
amend his complaint to remove claims that relate to Cigna’s “PxDx” review process, if Cigna provides a
declaration that the claims at issue in Plaintiff’s complaint were not subject to PxDx review. Cigna has
agreed to provide that declaration. The parties have also discussed a potential briefing schedule, in the
event that Plaintiff files an amended complaint after receiving Cigna’s declaration. The parties thus jointly
propose the following schedule for the Court’s consideration:


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                               US practice conducted through McDermott Will & Emery LLP.
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   •   Cigna will provide the declaration referenced above to Plaintiff by December 5, 2023.

   •   After receiving Cigna’s declaration, Plaintiff will have 15 days to decide whether he will file an
       amended complaint, and will notify Defendants of his decision by December 20.

   •   If Plaintiff does not amend the complaint, Defendants’ response to the original complaint will be
       due within 30 days of Plaintiff’s notification, by January 19, 2024.

   •    If Plaintiff does intend to amend the complaint, the amended complaint will be filed by January 8,
        2024. Defendants’ response to the amended complaint will be due within 30 days of Plaintiff
        filings the amended complaint, by February 7, 2024.
        There are no other currently scheduled deadlines other than the November 27 deadline for
Defendants to respond to the current complaint and the December 20 initial pretrial conference that the
parties respectfully request to be extended and adjourned, respectively.

       We thank the Court for its attention to this matter.

                                             *       *        *

The request for an extension is GRANTED. The initial
pretrial conference currently set for December 20, 2023, is
hereby CANCELED. By December 20, 2023, the parties
should submit a lettter-motion proposing a new date (or
dates) for the initial pretrial conference.

SO ORDERED.




Arun Subramanian, U.S.D.J.
Date: November 22, 2023
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                                          Respectfully submitted,

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                                          Lead Trial Counsel for Defendants Wellfleet
                                          Insurance and Wellfleet New York Insurance
                                          Company

                                            /s/ Julie S. Selesnick
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                                          Lead Trial Counsel for Plaintiff Azam Ahmed

cc:   All Counsel of Record via ECF
